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 1   Timothy E. Warriner
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141

 4   Attorney for defendant,
     RACHEL HOLMES
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 7                        IN THE UNITED STATES DISTRICT COURT FOR THE

 8                               EASTERN DISTRICT OF CALIFORNIA

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10   UNITED STATES OF AMERICA,           )                 2:09-cr-0026-GEB
                                         )
11               Plaintiff,              )                 STIPULATION & ORDER
                                         )                 CONTINUING STATUS
12         v.                            )                 CONFERENCE AND
                                         )                 EXCLUDING TIME
13   RACHEL HOLMES, et al.,              )
                                         )
14               Defendants.             )
     ____________________________________)
15

16          The parties hereby stipulate to the following:

17          1       A status conference in this matter is set for August 14, 2009 at 9:00 a.m.

18          2.      Defense counsel was recently appointed and is in the process of obtaining and

19   reviewing discovery materials. Both parties, therefore, stipulate that the status conference be

20   continued until September 11, 2009.

21          3.      It is further stipulated by the parties that time continue to be excluded to

22   September 11, 2009 for preparation of counsel pursuant to local code T4. 18 U.S.C.

23   3161(h)(8)(B)(iv).

24   DATED: August 13, 2009                        /s/ Tim Warriner, Attorney for
                                                   Defendant RACHEL HOLMES
25

26   DATED: August 13, 2009                        /s/ Daniel McConkie, Jr.
                                                   Assistant U.S. Attorney

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 1                                               ORDER

 2          GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for

 3   August 14, 2009, be continued to September 11, 2009, at 9:00 a.m., and that time is excluded to

 4   September 11, 2009, for preparation of counsel under Local Code T4, 18 U.S.C.

 5   3161(h)(8)(B)(iv).

 6   Dated: August 18, 2009
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 8                                            GARLAND E. BURRELL, JR.
                                              United States District Judge
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